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                                                                                                  Master Service List


           Description                                               Name                                            Address                              Email                       Method of Service
NOA* ‐ Counsel for United States      Assistant US Attorney                                     Attn: Whitney Tharpe                whitney.tharpe@usdoj.gov                      Email
Department of Health and Human                                                                  110 N College St, Ste 700
Services                                                                                        Tyler, TX 75702
20 Largest                            Blue Cross Blue Shield of Texas                           P.O. Box 731428                                                                   First Class Mail
                                                                                                Dallas, TX 75373
20 Largest                            Care Trips LLC                                            1616 Gateway Blvd, Ste B                                                          First Class Mail
                                                                                                Richardson, TX 75080
20 Largest                            City of Seguin                                            P.O. Box 591                                                                      First Class Mail
                                                                                                Seguin, TX 78156
*NOA ‐ Counsel for Management         Clay M Taylor                                             100 Crescent Court, Ste 900         Clay.taylor@dentons.com                       Email
MCOA, LLC                                                                                       Dallas, TX 75201
20 Largest                            Complete ERC                                              3348 Darvany Dr                                                                   First Class Mail
                                                                                                Dallas, TX 75220
20 Largest                            Cotton Commercial USA, Inc                                P.O. Box 676549                                                                   First Class Mail
                                                                                                Dallas, TX 75267
*Request for Service                  Curtis Law PC                                             Stephanie D. Curtis                 scurtis@curtislaw.net                         Email
                                                                                                901 Main St, Ste 6515
                                                                                                Dallas, TX 75202
20 Largest                            Direct Energy Business                                    P.O. Box 660749                                                                   First Class Mail
                                                                                                Dallas, TX 75266
20 Largest                            Dr Antonio A Flores, MD, PA                               214 N Camp St                                                                     First Class Mail
                                                                                                Seguin, TX 78155
20 Largest                            Engie Resources                                           P.O. Box 841680                                                                   First Class Mail
                                                                                                Dallas, TX 75284
NOA* ‐ Counsel for Quatro Tax, LLC    Forshey & Prostok, LLP                                    Attn: Harrison Pavlasek             hpavlasek@forsheyprostok.com                  Email
                                                                                                Attn: Jeff P Prostok                jprostok@forsheyprostok.com
                                                                                                777 Main St, Ste 1550
                                                                                                Ft Worth, TX 76102
20 Largest                            Fort Worth Internal Medicine                              650 St Louis Ave                    olatunji@hotmail.com                          Email
                                                                                                Ft Worth, TX 76104
The Subchapter V Trustee              Frances Smith                                             700 N Pearl St, Ste 1610            frances.smith@judithwross.com                 Email
                                                                                                Dallas, TX 75201
20 Largest                            Guadalupe Regional Medical Center                         1215 E Court St                                                                   First Class Mail
                                                                                                Seguin, TX 78155
NOA* ‐ Counsel for Alleon Capital     Husch Blackwell LLP                                       Attn: Buffey E Klein                buffey.klein@huschblackwell.com               Email
Partners                                                                                        Attn: Alejandra Garcias Castro      alejandra.garciacastro@huschblackwell.com
                                                                                                1900 N Pearl St, Ste 1800
                                                                                                Dallas, TX 75201
NOA* ‐ Counsel for Alleon Capital     Husch Blackwell LLP                                       Attn: Lynna Hamilton Butler         lynn.butler@huschblackwell.com                Email
Partners                                                                                        111 Congress Ave, Ste 1400
                                                                                                Austin, TX 78701
NOA* ‐ Counsel for Landlords: Kilgore Jeff Carruth                                              2608 Hibernia, Ste 105              jcarruth@wkpz.com                             Email
Property Management LLC, KRS                                                                    Dallas, TX 75204‐2514
Carrollton, LLC, KRS Dallas, LLC, KRS
Forth Worth, LLC; KRS Seguin, LLC

NOA* ‐ Counsel for Dallas County;       Linebarger Goggan Blair & Sampson, LLP                  Attn: John K Turner                 dallas.bankruptcy@lgbs.com                    Email
Tarrant County; Lewisville ISD; City of                                                         2777 N Stemmons Fwy, Ste 1000
Carrollton                                                                                      Dallas, TX 75207
The Subchapter V Trustee                Mark A Weisbart                                         12270 Coit Rd, Ste 541              mweisbart@haywardfirm.com                     Email
                                                                                                Dallas, TX 75251
NOA* ‐ Counsel for The County of      McCreary, Veselka, Bragg & Allen, PC                      Attn: Julie Anne Parsons            jparsons@mvbalaw.com                          Email
Denton, Texas and The County of                                                                 P.O. Box 1269
Guadalupe, Texas                                                                                Round Rock, TX 78680
20 Largest                            MedixCar LLC                                              7309 Big Bend Ct                    mashel.medixcar@gmail.com                     Email
                                                                                                Ft Worth, TX 76137
20 Largest                            Medline Industries, Inc                                   P.O. Box 121080                                                                   First Class Mail
                                                                                                Dallas, TX 75312
20 Largest                            New Source Medical                                        9913 Shelbyville Rd, Ste 203                                                      First Class Mail
                                                                                                Louisville, KY 40223
Governmental Authority                Office of the Attorney General                            300 W 15th St                                                                     First Class Mail
                                                                                                Austin, TX 78701
NOA* ‐ Counsel for The Texas Health Office of the Attorney General of Texas                     Attn: Christopher S Murphy          christopher.murphy@oag.texas.gov              Email
and Human Services Commission                                                                   Attn: Layla D Milligan              layla.milligan@oag.texas.gov
                                                                                                Assistant Attorney's General
                                                                                                Bankruptcy & Collections Div
                                                                                                P.O. Box 12548
                                                                                                Austin, TX 78711‐2548
Governmental Authority                Office of The US Trustee                                  Bank of America Bldg                                                              First Class Mail
                                                                                                110 N College Ave, Rm 300
                                                                                                Tyler, TX 75702
20 Largest                            Performance Foodservice                                   524 W 61st St                                                                     First Class Mail
                                                                                                Shreveport, LA 71106
20 Largest                            Pharmacy Unlimited                                        P.O. Box 592602                     kskaggs@pharmacyunlimited.com                 Email
                                                                                                San Antonio, TX 78259
20 Largest                            PointClick Care Technologies Inc                          P.O. Box 674802                                                                   First Class Mail
                                                                                                Detroit, MI 48267
NOA* ‐ Counsel for A Lawn and         Pope, Hardwicke, Christie, Schell, Kelly & Taplett, LLP   Attn: Aimee E Marcotte              amarcotte@popehardwicke.com                   Email
Landcare Services Company, LLC                                                                  500 W 7th St, Ste 600
                                                                                                Ft Worth, TX 76102
20 Largest                            Quatro Tax LLC                                            3909 Hulen St, Ste 100                                                            First Class Mail
                                                                                                Ft Worth, TX 76107
20 Largest                            Quintairos, Prieto, Wood & Boyer PA                       9300 S Dadeland Blvd, 4th Fl                                                      First Class Mail
                                                                                                Miami, FL 33156
*NOA ‐ Counsel for Texas              Texas Attorney General's Office                           Attn: Jamie Kirk/Sherri Simpson     jamie.kirk@oag.texas.gov                      Email
Comptroller of Public Accounts,                                                                 Bankruptcy & Collections Division   sherri.simpson@oag.texas.gov
Revenue Accounting Division                                                                     12221 Merit Dr, Ste 825
                                                                                                Dallas, TX 75251
Governmental Authority                Texas Dept of State Health Services                       1100 W 49th St                                                                    First Class Mail
                                                                                                Austin, TX 78756‐3199
Governmental Authority                Texas Health & Human Services                             1100 W 49th St                                                                    First Class Mail
                                                                                                Austin, TX 78756‐3199
Governmental Authority                Texas Health & Human Services Commission                  P.O. Box 149347, MC 1979            TX_HFC@hhs.texas.gov                          Email
                                                                                                Austin, TX 78714‐9347
20 Largest                            The PICC Team DFW                                         4500 Northside Dr                                                                 First Class Mail
                                                                                                Amarillo, TX 79108




REMARKABLE HEALTHCARE OF CARROLLTON
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             Description                                      Name                                   Address                        Email           Method of Service
20 Largest                        Three D Lawn Care LLC                           3681 Agnes Cir                                              First Class Mail
                                                                                  Springtown, TX 76082
*NOA ‐ Counsel for Medixcar LLC   Whitaker Chalk Swindle & Schwartz PLLC          Attn: Robert A Simon         rsimon@whitakerchalk.com       Email
                                                                                  301 Commerce St, Ste 3500
                                                                                  Ft Worth, TX 76102




REMARKABLE HEALTHCARE OF CARROLLTON
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